                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


STEPHEN SAMPLES                                )
                                               )
v.                                             ) NO. 3-11-0384
                                               ) JUDGE CAMPBELL
ACCRETIVE HEALTH, INC., et al.                 )



                                               ORDER


        Plaintiff has filed a Notice of Dismissal Pursuant to Settlement (Docket No. 19), indicating

that all matters herein have been resolved. Accordingly, this action is DISMISSED with prejudice,

and the Clerk is directed to close the file. This Order shall constitute the final judgment in this case

pursuant to Fed. R. Civ. P. 58.

        IT IS SO ORDERED.


                                                       ___________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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